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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
                                                          :
UNITED STATES OF AMERICA,                                 :
                                                          :          20 Cr. 330 (AJN)
                  v.                                      :
                                                          :
GHISLAINE MAXWELL,                                                   NOTICE OF MOTION
                                                          :
                                                          :
                                  Defendant.
                                                          :          ORAL ARGUMENT REQUESTED
                                                          :
----------------------------------------------------------x


                     DEFENDANT GHISLAINE MAXWELL’S
         NOTICE OF MOTION TO DISMISS THE SUPERSEDING INDICTMENT
         AS IT WAS OBTAINED IN VIOLATION OF THE SIXTH AMENDMENT
                              (Pretrial Motion # 9)

         PLEASE TAKE NOTICE that, upon the accompanying memorandum of law, Defendant

Ghislaine Maxwell, through counsel, hereby moves to dismiss the superseding indictment as it

was obtained in violation of the Sixth Amendment.


Dated: January 25, 2021
       New York, New York

                                                              Respectfully submitted,

                                                              COHEN & GRESSER LLP


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